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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------------X
  KENNETH TROY NASH JR., AS ADMINISTRATRIX OF
  THE ESTATE OF SANDRA WILSON, DECEASED,                                    Civil Case No.: 1:20-cv-9821
  KEON LEE NASH, AS ADMINISTRATRIX OF THE
  ESTATE OF SANDRA WILSON, DECEASED,                                        COMPLAINT AND
                                                                            DEMAND FOR JURY
                                              Plaintiffs,                   TRIAL

                            -against-

  FINKELSTEIN MEMORIAL LIBRARY, EAST RAMAPO
  CENTRAL SCHOOL DISTRICT, and GLAUDIN
  BLANCHARD,

                                               Defendants.
  ----------------------------------------------------------------------X

        “He would harass her.. she would tell me that one day he asked her to be his girlfriend..”

            -    Abigail Jean-Marie, former Library Co-Worker of Sandra Wilson, deceased

       Plaintiffs, by and through their attorneys, MARK DAVID SHIRIAN, P.C., and

RUBENSTEIN & RYNECKI, complaining of the Defendants, respectfully alleges as follows:

       1.        Prior to the commencement of this action, and more particularly, on the 9th day of

November, 2020, the Plaintiffs Kenneth Troy Nash Jr. and Keon Lee Nash, were duly appointed

Administrator of the Estate of Sandra Wilson, deceased, by Order of the Honorable Keith J.

Cornell, Surrogate of the County of Rockland, State of New York, has duly qualified as such and

is now acting in said capacity.


                                          PRELIMINARY STATEMENT

       2.        This is a civil action to remedy violations by former employers of Plaintiff’s

decedent, Sandra Wilson, Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST

RAMAPO CENTRAL SCHOOL DISTRICT of Plaintiff’s decedent, SANDRA WILSON’s civil

rights. The defendants subjected Plaintiff’s decedent, Sandra Wilson, to gender discrimination and
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a sexually hostile work environment and denied her full and equal enjoyment of a place of public

accommodation based upon her sex, in violation of 42 U.S.C. §§ 2000e et seq. (“Title VII”), and

the New York State Human Rights Law, N.Y. Exec. Law §§ 290 et seq. (“Exec. Law” or

“NYSHRL”).


        3.      Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT also acted negligently by failing to protect Wilson from verbal

and physical attacks by GLAUDIN BLANCHARD, a customer frequenting its library.


        4.      Plaintiffs are also seeking damages for civil assault and battery committed by

GLAUDIN BLANCHARD.


        5.      Plaintiffs seek compensatory and punitive damages as well as declaratory relief in

this action.


                                 JURISDICTION AND VENUE

        6.      This court has original federal question jurisdiction under 28 U.S.C. 1331 and 1343

because this case is brought for gender discrimination and hostile work environment, under Title

VII of the Civil Rights Act and other conduct. This Court has supplemental jurisdiction over

Plaintiff’s New York State Human Rights Law (“NYSHRL”), New York Executive Law 290 et

seq., and N.Y. Exec. L 296 et seq. claims as they are so related to the claims in this action within

the Court’s original jurisdiction that they form part of the same case or controversy under Article

III of the United States Constitution. The Court has supplemental jurisdiction over plaintiff’s state

law claims, including the state law claims involving the joinder of GLAUDIN BLANCHARD

under 28 U.S.C. § 1337(a), because the state law claims are so related to the federal law claims as

to form part of the same case and controversy under Article III of the United States Constitution.



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        7.        Venue properly lies in the Southern District of New York pursuant to 28 U.S.C.

1391(b), because the claims arose in this judicial district and the defendants are doing business in

this District.


                                                   PARTIES


        8.        At all times herein mentioned, Plaintiff’s decedent, SANDRA WILSON, was, a

resident of the State of New York.


        9.        At all relevant times, Plaintiff’s decedent, SANDRA WILSON met the definitions

of an “employee” under all applicable statutes.


        10.       Plaintiff worked at FINKELSTEIN MEMORIAL LIBRARY, located at 24 Chestnut

Street, Spring Valley, NY 10977, as a security guard.


        11.       That, upon information and belief, at all times hereinafter mentioned, the Defendant,

GLAUDIN BLANCHARD, (hereinafter GLAUDIN BLANCHARD), was, and still is a resident

of the State of New York, County of Rockland and was born in 1994.


        12.       At all relevant times, Defendant, GLAUDIN BLANCHARD met the definitions of

a “patron” under all applicable statutes.


        13.       Defendant Finkelstein Memorial Library is a free public library, founded in 1917,

now serving over 100,000 people in the East Ramapo Central School District of Rockland County,

New York.


        14.       Defendant, EAST RAMAPO CENTRAL SCHOOL DISTRICT (“EAST RAMAPO

CENTRAL SCHOOL DISTRICT”), was and still is a municipal corporation organized and

existing under and by virtue of the laws of the State of New York, and is located at 105 South


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Madison Avenue, Spring Valley, New York. East Ramapo is a duly organized and authorized

urban/suburban school district located in Rockland County, New York serving more than 37,000

students from 37 countries and various socio-economic backgrounds.


       15.     Defendants Finkelstein Memorial Library and East Ramapo were both joint

employers of Sandra Wilson, deceased.


       16.     At all times relevant to this Complaint, Defendants Finkelstein Memorial Library

jointly employed Plaintiff’s decedent, Sandra Wilson, with East Ramapo and is an employer as

that term is defined by Title VII and N.Y. Exec. Law § 292(5).


       17.     At all times relevant to this Complaint, Defendants Finkelstein Memorial Library

and East Ramapo owned and operated a library and establishment dealing with goods and services,

located at 750 White Plains Road, Scarsdale, New York (the “store” or the “Scarsdale store”),

which is a public accommodation as that term is defined by N.Y. Exec. Law § 292(5).


       18.     At all times relevant to this Complaint, Glaudin was a customer of the corporate

defendants.


                                  PROCEDURAL BACKGROUND


       19.     On or about July 23, 2020, Plaintiffs filed a complaint against defendants

FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO CENTRAL SCHOOL

DISTRICT, with the Equal Employment Opportunity Commission (“EEOC”) and assigned EEOC

Charge Nos. 520-2020-04607 and 520-2020-05211.




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       20.    On or about August 24, 2020, and September 8, 2020, the EEOC issued a “Notice

of Right to Sue” to Plaintiffs advising them of their right to file an action against defendant within

90 days of their receipt of the notice.


       21.    This lawsuit has been timely filed within 90 days of Plaintiff’s receipt of the EEOC’s

Notice of Right to Sue.


       22.    Any and all other prerequisites to the filing of this suit have been met.


                                          FACTUAL SUMMARY


       23.    The acts of discrimination forming the basis of this complaint began prior to

February 2020. Plaintiff’s decedent, Sandra Wilson was the victim of uninitiated, unprovoked,

harassing, graphic, physical and sexual comments from a male patron and customer of the Library.


       24.    On or about February 18, 2020, Plaintiff’s decedent, Sandra Wilson was killed by

GLAUDIN BLANCHARD, a patron of the library, because of the hostile work environment she

endured.


       25.    That, upon information and belief, at all times hereinafter mentioned, the Defendant,

FINKELSTEIN MEMORIAL LIBRARY, owned a library serving patrons located at 24 Chestnut

Street, Spring Valley, NY 10977.


       26.    That, upon information and belief, at all times hereinafter mentioned, the Defendant,

FINKELSTEIN MEMORIAL LIBRARY, maintained a library serving patrons located at 24

Chestnut Street, Spring Valley, NY 10977.




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       27.    That, upon information and belief, at all times hereinafter mentioned, the Defendant,

FINKELSTEIN MEMORIAL LIBRARY, managed a library serving patrons located at 24

Chestnut Street, Spring Valley, NY 10977.


       28.    That, upon information and belief, at all times hereinafter mentioned, the Defendant,

FINKELSTEIN MEMORIAL LIBRARY, controlled a library serving patrons located at 24

Chestnut Street, Spring Valley, NY 10977.


       29.    That, upon information and belief, at all times hereinafter mentioned, the Defendant,

FINKELSTEIN MEMORIAL LIBRARY, supervised a library serving patrons located at 24

Chestnut Street, Spring Valley, NY 10977.


       30.    That, upon information and belief, at all times hereinafter mentioned, the Defendant,

EAST RAMAPO CENTRAL SCHOOL DISTRICT, owned a library serving patrons located at 24

Chestnut Street, Spring Valley, NY 10977.


       31.    That, upon information and belief, at all times hereinafter mentioned, the Defendant,

EAST RAMAPO CENTRAL SCHOOL DISTRICT, maintained a library serving patrons located

at 24 Chestnut Street, Spring Valley, NY 10977.


       32.    That, upon information and belief, at all times hereinafter mentioned, the Defendant,

EAST RAMAPO CENTRAL SCHOOL DISTRICT, managed a library serving patrons located at

24 Chestnut Street, Spring Valley, NY 10977.


       33.    That, upon information and belief, at all times hereinafter mentioned, the Defendant,

EAST RAMAPO CENTRAL SCHOOL DISTRICT, controlled a library serving patrons located

at 24 Chestnut Street, Spring Valley, NY 10977.



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       34.     That, upon information and belief, at all times hereinafter mentioned, the Defendant,

EAST RAMAPO CENTRAL SCHOOL DISTRICT, supervised a library serving patrons located

at 24 Chestnut Street, Spring Valley, NY 10977.


       35.     That at all times herein mentioned, Defendant was plaintiff’s joint employer and

employs in excess of 50 employees.


       36.     At all relevant times, Defendant has met the definition of an “employer” under all

applicable statutes.


       37.     At all relevant times, Defendants EAST RAMAPO CENTRAL SCHOOL

DISTRICT and have met the definition of a “joint employer” under all applicable statutes.


       38.     That upon information and belief, and at all times hereinafter mentioned, Plaintiff’s

decedent, SANDRA WILSON, was an employee of defendants FINKELSTEIN MEMORIAL

LIBRARY, EAST RAMAPO CENTRAL SCHOOL DISTRICT, as a security guard of the

premises.


       39.     That upon information and belief, and at all times hereinafter mentioned, Plaintiff’s

decedent, SANDRA WILSON was hired by defendants FINKELSTEIN MEMORIAL LIBRARY,

and EAST RAMAPO CENTRAL SCHOOL DISTRICT, as a security guard of the premises in or

around 2011.


       40.     That upon information and belief, and at all times hereinafter mentioned, Plaintiff’s

decedent, SANDRA WILSON, was supervised by defendants FINKELSTEIN MEMORIAL

LIBRARY, and EAST RAMAPO CENTRAL SCHOOL DISTRICT, as a security guard of the

premises.



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       41.    That upon information and belief, and at all times hereinafter mentioned, Plaintiff’s

decedent, SANDRA WILSON, was paid a salary by defendants FINKELSTEIN MEMORIAL

LIBRARY, and EAST RAMAPO CENTRAL SCHOOL DISTRICT, as a security guard of the

premises.


       42.    The cause of action herein alleged arose in the County of Rockland, and State of

New York.


       43.    That upon information and belief, and at all times hereinafter mentioned, defendant,

GLAUDIN BLANCHARD, was a patron of defendants FINKELSTEIN MEMORIAL LIBRARY,

and EAST RAMAPO CENTRAL SCHOOL DISTRICT.


       44.    That upon information and belief, and at all times hereinafter mentioned, defendant,

GLAUDIN BLANCHARD, was a patron on the premises owned by FINKELSTEIN MEMORIAL

LIBRARY, and EAST RAMAPO CENTRAL SCHOOL DISTRICT.


       45.    That upon information and belief, and at all times hereinafter mentioned, defendant,

GLAUDIN BLANCHARD, was supervised by defendants FINKELSTEIN MEMORIAL

LIBRARY, and EAST RAMAPO CENTRAL SCHOOL DISTRICT, as a patron of the premises.


       46.    That at all times relevant herein, Defendant EAST RAMAPO CENTRAL SCHOOL

DISTRICT was the beneficial owner, and pursuant to agreement, had and enjoyed all of the

beneficial and equitable interests in the premises.


       47.    That at all times relevant herein, Defendant EAST RAMAPO CENTRAL SCHOOL

DISTRICT was the managing agent of the aforesaid premises.




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         48.    That at all times hereinafter mentioned, Defendant EAST RAMAPO CENTRAL

SCHOOL DISTRICT maintained the premises known as 24 Chestnut Street, Spring Valley, NY

10977.


         49.    That at all times hereinafter mentioned, Defendant, EAST RAMAPO CENTRAL

SCHOOL DISTRICT, controlled the premises known as 24 Chestnut Street, Spring Valley, NY

10977.


         50.    That at all times hereinafter mentioned, defendant EAST RAMAPO CENTRAL

SCHOOL DISTRICT its agents, servants and/or employees managed the aforesaid premises.


         51.    That at all times hereinafter mentioned, defendant EAST RAMAPO CENTRAL

SCHOOL DISTRICT, its agents, servants and/or employees maintained the aforesaid premises.


         52.    That at all times hereinafter mentioned, defendant EAST RAMAPO CENTRAL

SCHOOL DISTRICT, its agents, servants and/or employees controlled the aforesaid premises.


         53.    Defendant GLAUDIN BLANCHARD harassed Plaintiff’s decedent, SANDRA

WILSON on the premises.


         54.    That defendant GLAUDIN BLANCHARD stalked, harassed, aggravated, menaced,

endangered, intimidated and threatened Plaintiff’s decedent, SANDRA WILSON, at the premises

while he was a patron.


         55.    That defendant GLAUDIN BLANCHARD stalked, harassed, aggravated, menaced,

endangered, assaulted, intimidated and threatened Plaintiff’s decedent, SANDRA WILSON, and

other employees, at the premises while he was a patron.




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       56.    That defendant GLAUDIN BLANCHARD stalked, harassed, aggravated, menaced,

assaulted, endangered, intimidated and threatened Plaintiff’s decedent, SANDRA WILSON, at the

premises while he was a patron.


       57.    That defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT, intentionally and deliberately encouraged and supported

defendant    GLAUDIN     BLANCHARD’s        stalking,   harassment,   aggravation,   menacing,

endangerment, intimidation and threats against Plaintiff’s decedent, SANDRA WILSON, at the

premises.


       58.    That defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT, had actual and constructive knowledge of defendant

GLAUDIN BLANCHARD’s escalating bad behavior toward Plaintiff’s decedent, SANDRA

WILSON, which made it foreseeable that a violent attack would occur, as against Plaintiff’s

decedent, SANDRA WILSON.


       59.    That despite defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST

RAMAPO CENTRAL SCHOOL DISTRICT,’s actual and constructive knowledge of defendant

GLAUDIN BLANCHARD’s escalating bad behavior toward Plaintiff’s decedent, SANDRA

WILSON, defendants took no action to diffuse the situation, or otherwise correct and/or modify

defendant GLAUDIN BLANCHARD’s behavior, toward Plaintiff’s decedent, SANDRA

WILSON.


       60.    That on or about February 18, 2020, Defendant GLAUDIN BLANCHARD

physically assaulted, battered and murdered Plaintiff’s decedent, SANDRA WILSON in the




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premises operated by Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT.


       61.    That upon information and belief, security guards employed by Defendants

FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO CENTRAL SCHOOL

DISTRICT had the duty to protect Plaintiff from being sexually harassed, battered, and assaulted.


       62.    On February 18, 2020, Sandra Wilson, deceased, was working at the Finkelstein

Library at the premises located at 24 Chestnut Street, Spring Valley, New York.


       63.    Defendant GLAUDIN BLANCHARD, who was released without bail in December

2019 from jail on an attempted rape count when prosecutors neither indicted him nor asked for a

preliminary hearing to hold him on bail.


       64.    Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT were aware or should have been aware of the criminal and

sexual propensities of patron GLAUDIN BLANCHARD at all relevant times hereto.


       65.    Prior to February 18, 2020, Sandra Wilson had prior unpleasant interactions with

GLAUDIN BLANCHARD.


       66.    Specifically, GLAUDIN BLANCHARD, sexually harassed Sandra Wilson on the

premises of the Finkelstein Memorial Library while he was a patron and created a hostile work

environment for Sandra Wilson previously.


       67.    Specifically, GLAUDIN BLANCHARD asked Sandra Wilson out on dates and

asked her to be his girlfriend on multiple occasions prior to February 18, 2020. Upon information




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and belief, Sandra Wilson repeatedly declined GLAUDIN BLANCHARD’s advances to become

romantic with him.


       68.    Upon information and belief, Sandra Wilson complained to her coworkers and

supervisors about the sexual harassment and hostile work environment she endured by patron,

GLAUDIN BLANCHARD prior to February 18, 2020.


       69.    However, Defendants East Ramapo and Finkelstein Library failed to take any

remedial actions to prevent patron GLAUDIN BLANCHARD from sexually harassing Sandra

Wilson after they were made aware or should have been made aware of his behavior and criminal

and sexual propensities.


       70.    Upon information and belief, the directors of the Finkelstein Library, as well as and

Sandra Wilson’s supervisors and coworkers were aware of the sexual harassment and hostile work

environment Sandra Wilson was forced to endure because of GLAUDIN BLANCHARD.


       71.    However, Defendants East Ramapo and Finkelstein Memorial Library failed to take

any precautions to protect Sandra Wilson and to ensure that she worked in a safe environment free

of any sexual harassment by a patron, specifically, GLAUDIN BLANCHARD.


       72.    On or about February 18, 2020, GLAUDIN BLANCHARD, a patron of the

Finkelstein Library, entered the library, without any problem.


       73.    Defendant, GLAUDIN BLANCHARD started to play loud music in the Finkelstein

Library.


       74.    Sandra Wilson witnessed and heard the loud music and politely asked GLAUDIN

BLANCHARD to lower the music.



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       75.    GLAUDIN BLANCHARD became hostile, likely because of Sandra Wilson’s prior

refusal to engage in a romantic relationship with him. As a result, GLAUDIN BLANCHARD

stabbed Sandra Wilson repeatedly and killed her.


       76.    As a result of the above, GLAUDIN BLANCHARD has been charged with second-

degree murder in the stabbing death of Finkelstein Memorial Library security officer Sandra

Wilson.


       77.    At all times relevant to this action, Plaintiff’s decedent, Sandra Wilson exclusively

utilized Finkelstein Library equipment. Finkelstein Library also maintained records of hours and

directly supervised Plaintiff’s decedent, Sandra Wilson on a daily basis.


       78.    At all times relevant to this action, Plaintiff’s decedent, Sandra Wilson exclusively

utilized East Ramapo equipment. East Ramapo also maintained records of hours and directly

supervised Plaintiff’s decedent, Sandra Wilson on a daily basis.


       79.    In the course of performing the duties of her position, Sandra Wilson was forced to

endure a sexually hostile work environment by a male patron of the library, which was severe and

pervasive and altered her working conditions.


       80.    Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT discriminated against Sandra                  Wilson by negligently and

intentionally making the working conditions hostile by allowing a male patron to make sexually

explicit comments to female workers, including Sandra Wilson. As such, the working conditions

Plaintiff’s decedent, Sandra Wilson endured were hostile and intolerable.




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       81.    As a result of the assault and battery, Plaintiff’s decedent, SANDRA WILSON

suffered serious injuries and tragically died.


       82.    That Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT, had the ability or reasonable opportunity to control the

aggressor and that the harm complained of was foreseeable.


       83.    That the Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST

RAMAPO CENTRAL SCHOOL DISTRICT, had actual knowledge of Defendant, GLAUDIN

BLANCHARD’s criminal history and propensity for violence and harassment against other

employees.


       84.    That the Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST

RAMAPO CENTRAL SCHOOL DISTRICT, had actual knowledge of Defendant, GLAUDIN

BLANCHARD’s propensity for violence and harassment against Plaintiff, but desired to bring

about the consequences of the act with the purpose of accomplishing such a result or with

knowledge that to a substantial certainty such a result will ensue against Plaintiff.


       85.    Upon information and belief, the Defendants had actual knowledge of Defendant

GLAUDIN BLANCHARD’s criminal activity with third parties in the premises.


       86.    That at all times hereinafter mentioned, it was the duty of defendants

FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO CENTRAL SCHOOL

DISTRICT, its agents, servants and/or employees to provide for the safety, protection and well-

being of persons who were lawfully present upon said premises.




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       87.    Plaintiff’s decedent, SANDRA WILSON was killed and could no longer continue

her employment with defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT, because of the sexual assault and battery she sustained by

patron Defendant GLAUDIN BLANCHARD.


       88.    Following defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST

RAMAPO CENTRAL SCHOOL DISTRICT’s notice of the sexual harassment by a male patron,

Finkelstein Library and East Ramapo, tolerated a hostile work environment perpetrated by patrons

of the library and engaged in discriminatory conduct by not taking any action.


       89.    Finkelstein Library and East Ramapo failed to remedy or prevent a hostile or

offensive work environment of which management-level employees knew, or in the exercise of

reasonable care should have known.


       90.    Finkelstein Library and East Ramapo failed to respond properly to the inappropriate

conduct of GLAUDIN BLANCHARD, prior to February 18, 2020. The conduct of GLAUDIN

BLANCHARD on February 18, 2020 and prior were more than a mere offensive utterance.


       91.    GLAUDIN BLANCHARD physically threatened, humiliated and eventually

murdered Plaintiff’s decedent, Sandra Wilson, which unreasonably interfered with Plaintiff’s

decedent, Sandra Wilson’s ability to perform her duties as a security guard. Finkelstein Library

and East Ramapo failed to remedy or prevent a hostile or offensive work environment of which

management-level employees knew, or in the exercise of reasonable care should have known.




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                     AS AND FOR A FIRST CLAIM OF RELIEF
          VIOLATION OF TITLE VII - HOSTILE WORK ENVIRONMENT
            (Against Defendants FINKELSTEIN MEMORIAL LIBRARY, and
                   EAST RAMAPO CENTRAL SCHOOL DISTRICT)

       92.      Plaintiffs hereby repeat and reallege each of the preceding allegations as if fully set

forth herein.


       93.      Plaintiff’s decedent, Wilson was at all times relevant to this complaint an employee

of defendant within the meaning of Title VII.


       94.      The defendants violated Title VII by subjecting Wilson to a sexually hostile working

environment. Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT knew that the customer, BLANCHARD, was physically and

verbally harassing Wilson because of her sex, yet failed to use reasonable care to protect her by

banning BLANCHARD from the Finkelstein Memorial Library.


       95.      Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT failed to provide a reasonable complaint procedure regarding

BLANCHARD’s sexually-based harassment of Wilson. Both FINKELSTEIN MEMORIAL

LIBRARY, and EAST RAMAPO CENTRAL SCHOOL DISTRICT’s management repeatedly

ignored and failed to investigate Wilson’s complaints about BLANCHARD’s harassment.


       96.      Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT ratified or condoned the unlawful sexual harassment of Wilson

by refusing to ban BLANCHARD from the library or otherwise protect plaintiff from her verbal

and physical abuse by means other than sexually segregating plaintiff.




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        97.     As a direct and proximate result of FINKELSTEIN MEMORIAL LIBRARY, and

EAST RAMAPO CENTRAL SCHOOL DISTRICT’s discriminatory conduct in violation of Title

VII, Wilson has sustained economic losses and suffered severe mental anguish and emotional

distress, emotional and physical pain and suffering and death.


        98.     FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO CENTRAL

SCHOOL DISTRICT’s unlawful discriminatory actions were committed with malice or with

reckless indifference to Wilson’s federally protected rights.


                             AS AND FOR A SECOND CLAIM OF RELIEF
                           VIOLATION OF NYSHRL – SEXUALLY HOSTILE
                                           ENVIRONMENT
                            (Against Defendants FINKELSTEIN MEMORIAL
                          LIBRARY, and EAST RAMAPO CENTRAL SCHOOL
                                              DISTRICT)

        101.     Plaintiffs hereby repeat and reallege each of the preceding allegations as if fully

set forth herein.

        102.     The defendants violated the NYSHRL by subjecting Wilson to a sexually hostile

working environment. Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST

RAMAPO CENTRAL SCHOOL DISTRICT knew that the customer, BLANCHARD, was

physically and verbally harassing Wilson because of her sex, yet failed to use reasonable care to

protect her by banning BLANCHARD from the Finkelstein library or transferring Plaintiff to

another library.

        103.     Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT failed to provide a reasonable complaint procedure regarding

BLANCHARD’s sexually-based harassment of Wilson.




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       104.     Both FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO CENTRAL

SCHOOL DISTRICT’s management repeatedly ignored and failed to investigate Plaintiff’s

complaints about BLANCHARD’s harassment.

       105.     FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO CENTRAL

SCHOOL DISTRICT ratified or condoned the unlawful sexual harassment of Wilson by refusing

to ban BLANCHARD from the library or otherwise protect plaintiff from her actual and

threatened verbal and physical abuse.

       106.     As a direct and proximate result of FINKELSTEIN MEMORIAL LIBRARY, and

EAST RAMAPO CENTRAL SCHOOL DISTRICT’s unlawful and discriminatory conduct in

violation of New York State Human Rights Law, Wilson has sustained economic losses and

suffered severe mental anguish and emotional distress, and emotional and physical pain and

suffering and death.

                             AS AND FOR A THIRD CLAIM OF RELIEF
                                VIOLATION OF NYSHRL – PUBLIC
                                         ACCOMODATION
                           (Against Defendants FINKELSTEIN MEMORIAL
                         LIBRARY, and EAST RAMAPO CENTRAL SCHOOL
                                             DISTRICT)

       107.     Plaintiffs hereby repeat and reallege each of the preceding allegations as if fully

set forth herein.

       108.     By requiring Wilson to work at library to appease a sexist patron, FINKELSTEIN

MEMORIAL LIBRARY, and EAST RAMAPO CENTRAL SCHOOL DISTRICT denied

Wilson access to the library premises, as well as to its benefits, services and use because of her

sex.




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       109.     Plaintiff has suffered and continues to suffer irreparable mental and physical

injury as a result of defendants’ denial of her rights to the accommodations, advantages,

facilities, and privileges of the Finkelstein library.

                   AS AND FOR A FOURTH CLAIM OF RELIEF
                              FOR NEGLIGENCE
 (As Against Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO
                          CENTRAL SCHOOL DISTRICT)

       110.     Plaintiff’s decedent, SANDRA WILSON repeats and realleges by reference each

and every allegation contained in the above stated paragraphs, and incorporates the same herein

as though fully set forth.

       111.     That it was the duty of defendants to use ordinary care to protect employees,

including Plaintiff, in the premises from its patron, including but not limited to, defendant

GLAUDIN BLANCHARD.

       112.     That defendants, by their servants, agents, and/or employees breached their duty

to Plaintiff, in permitting Plaintiff to be stalked, harassed, aggravated, menaced, endangered,

intimidated, threatened and violently attacked by GLAUDIN BLANCHARD, at the premises.

       113.     That defendants by their servants, agents, and/or employees had actual and

constructive notice of the offensive conduct and violent propensities of patron, GLAUDIN

BLANCHARD, in causing Plaintiff’s injuries.

       114.     That defendants, by their servants, agents, and/or employees, received prior

complaints from Plaintiff, and employees at the premises regarding the violent propensities and

offensive conduct of defendant GLAUDIN BLANCHARD.

       115.     That it was foreseeable to defendants that a violent attack would occur, and physical

harm would come to Plaintiff, by defendants’ security guard GLAUDIN BLANCHARD based on




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defendants’ actual and constructive knowledge of GLAUDIN BLANCHARD’s escalating bad

behavior toward Plaintiff.

       116.     That the foregoing occurrence was caused solely and wholly as a result of the

negligence of the defendants, their agents, servants and employees, without any negligence on the

part of the Plaintiff contributing thereto.

       117.     That as a result of the foregoing, Plaintiff’s decedent, SANDRA WILSON

sustained severe and permanent personal injuries and loss of life.

       118.     That by reason of the foregoing, the Plaintiff was severely injured and damaged,

rendered sick, sore, lame, and disabled, sustained severe nervous shock and mental anguish,

great physical pain and emotional and death.

       119.     As a direct and proximate result of the aforementioned occurrence, Plaintiff have

sustained in the past, physical injury, pain and suffering, serious psychological and emotional

distress, mental anguish, embarrassment and humiliation and death.

       120.     As a direct and proximate result of the aforementioned occurrence, Plaintiff has

incurred medical expenses and other economic damages, and continue to be in physical pain and

will now be obligated to expend sums of money for medical care and attention in an effort to

cure themselves of their injuries and to alleviate their pain and suffering, emotional distress,

mental anguish, embarrassment and humiliation. The Plaintiff are unable, and continue to be

unable for some time to come, to pursue their usual activities and employment, all due to their

physical, psychological, and emotional injuries and damage.




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                         AS AND FOR A FIFTH CLAIM OF RELIEF
                                       FOR BATTERY
                       (As Against Defendant GLAUDIN BLANCHARD)


        121.     Plaintiff repeat and reallege by reference each and every allegation contained in

the above stated paragraphs, and incorporates the same herein as though fully set forth.

        122.     On or about February 18, 2020, GLAUDIN intentionally touched and attacked

and intentionally tried to kill Plaintiff.

        123.     GLAUDIN’s physical touching of Plaintiff was intentional, unwelcome and

offensive.

        124.     That GLAUDIN BLANCHARD’s attack and offensive conduct committed

against Plaintiff’s decedent, SANDRA WILSON, amounted to a series of harmful and offensive

contacts to Plaintiff’ person, all of which were done intentionally by GLAUDIN BLANCHARD

without Plaintiff’s consent.

        125.     That by reason of the foregoing, the Plaintiff was caused to suffer injury, pain,

discomfort, disability, and mental and emotional shock and distress and were damaged thereby.

        126.     That Plaintiff has been damaged in an amount which exceeds the jurisdictional

limits of all lower courts, which would otherwise have jurisdiction.

        127.     That Plaintiff are entitled to punitive damages as defendants’ wrongdoing evinces

a high degree of moral turpitude and demonstrates such wanton dishonesty as to imply criminal

indifference to civil obligations.




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                         AS AND FOR A SIXTH CLAIM OF RELIEF
                                       FOR ASSAULT
                       (As Against Defendant GLAUDIN BLANCHARD)


        128.     Plaintiff repeat and reallege by reference each and every allegation contained in

the above stated paragraphs, and incorporates the same herein as though fully set forth.

        129.     That GLAUDIN BLANCHARD’s sexual attack and offensive conduct committed

against Plaintiff’s decedent, SANDRA WILSON amounted to a series of events creating a

reasonable apprehension in Plaintiff of immediate harmful and offensive contact to Plaintiff’

person, all of which were done intentionally by GLAUDIN BLANCHARD without Plaintiff’

consent.

        130.     That by reason of the foregoing, the Plaintiff was caused to suffer injury, pain,

discomfort, disability, and mental and emotional shock and distress and death and was damaged

thereby.

                      AS AND FOR A SEVENTH CLAIM OF RELIEF
               FOR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                     (As Against Defendant GLAUDIN BLANCHARD)

        131.     Plaintiff repeats and realleges by reference each and every allegation contained in

the above stated paragraphs, and incorporates the same herein as though fully set forth.

        132.     That defendant GLAUDIN BLANCHARD engaged in conduct toward Plaintiff

that was extreme and outrageous so as to exceed the bounds of decency in a civilized society,

namely, she violently attacked Plaintiff at the premises.

        133.     That, by his actions and conduct, GLAUDIN BLANCHARD intended to and did

intentionally or recklessly cause Plaintiff’s decedent, SANDRA WILSON severe emotional

distress.




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         134.     That by reason of the foregoing, the Plaintiff was caused to suffer injury, pain,

discomfort, disability, and mental and emotional shock and distress and were damaged thereby.

         135.     That defendant GLAUDIN BLANCHARD’s extreme and outrageous conduct

was knowing, malicious, willful, and wanton.

         136.     That Plaintiff’s decedent, SANDRA WILSON have been damaged in an amount

which exceeds the jurisdictional limits of all lower courts, which would otherwise have

jurisdiction.

         137.     That Plaintiff’s decedent, SANDRA WILSON is entitled to punitive damages as

defendants’ wrongdoing evinces a high degree of moral turpitude and demonstrates such wanton

dishonesty as to imply criminal indifference to civil obligations.

                        AS AND FOR AN EIGHTH CLAIM OF RELIEF
                                  FOR PRIMA FACIE TORT
                        (As Against Defendant GLAUDIN BLANCHARD)

         138.     Plaintiff repeats and realleges by reference each and every allegation contained in

the above stated paragraphs, and incorporates the same herein as though fully set forth.

         139.     That GLAUDIN BLANCHARD intentionally committed the aforementioned

against Plaintiff.

         140.     Defendant GLAUDIN BLANCHARD intended that the aforementioned actions

would cause Plaintiff’s decedent, SANDRA WILSON physical and psychological harm and

death.

         141.     Defendant GLAUDIN BLANCHARD’s aforementioned actions committed

against Plaintiff have caused and continue to cause Plaintiff physical injuries, pain and suffering,

humiliation, emotional distress and death




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       142.     Defendant GLAUDIN BLANCHARD’s conduct was unlawful and not justifiable

under all of the circumstances.

       143.     That Plaintiff’s decedent, SANDRA WILSON is entitled to punitive damages as

defendant’s wrongdoing evinces a high degree of moral turpitude and demonstrates such wanton

dishonesty as to imply criminal indifference to civil obligations.

                      AS AND FOR A NINTH CLAIM OF RELIEF
          VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, AS
         AMENDED— GENDER DISCRIMINATION IN TERMS AND CONDITIONS
                                  OF EMPLOYMENT
             (Against Defendants FINKELSTEIN MEMORIAL LIBRARY,
                and EAST RAMAPO CENTRAL SCHOOL DISTRICT)

       144.     Plaintiff re-alleges and incorporates by reference each and every allegation in this

Complaint as though fully set forth herein.

       145.     Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT have discriminated against Plaintiff by subjecting her to

different treatment on the basis of her gender.

       146.     Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT discriminated against Plaintiff by treating her differently from

and less preferably than similarly-situated male employees and by subjecting her to disparate

terms and conditions of employment in violation of Title VII.

       147.     Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT’s differential treatment of Plaintiff is a direct and proximate

result of gender discrimination.

       148.     Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT have failed to prevent, respond to, adequately investigate,

and/or appropriately resolve instances of gender discrimination in the workplace.


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       149.       By reason of the continuous nature of Defendants FINKELSTEIN MEMORIAL

LIBRARY, and EAST RAMAPO CENTRAL SCHOOL DISTRICT’s discriminatory conduct,

Plaintiff is entitled to the application of the continuing violation doctrine to the unlawful acts

alleged herein.

       150.       As a result of Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST

RAMAPO CENTRAL SCHOOL DISTRICT’s unlawful discrimination, Plaintiff has suffered

and will continue to suffer harm, including but not limited to lost earnings, lost benefits, lost

future employment opportunities, humiliation, embarrassment, reputational harm, emotional and

physical distress, mental anguish, and other economic damages and non-economic damages.

       151.       Plaintiff is entitled to all legal and equitable remedies available for violations of

Title VII, including back pay, front pay, compensatory damages, punitive damages, and other

appropriate relief. Attorneys’ fees should be awarded under 42 U.S.C. § 2000e-5(k).

                    AS AND FOR A TENTH CLAIM OF RELIEF
 VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, AS AMENDED
                 SEXUAL HARASSMENT 42 U.S.C. § 2000(e) et seq.
  (Against Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO
                         CENTRAL SCHOOL DISTRICT)

       152.       Plaintiff re-alleges and incorporates by reference each and every allegation in this

Complaint as though fully set forth herein.

       153.       FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO CENTRAL

SCHOOL DISTRICT have discriminated against Plaintiff by creating and maintaining a hostile

work environment where an ongoing, severe, or pervasive pattern and practice of sexual

harassment persists in violation of Title VII.




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       154.     Plaintiff was subject to unwelcome sexual harassment based on her sex. She was

subject to unwelcome sexual conduct, including sexual comments and sexual advances. She

rejected the unwelcome sexual advances.

       155.     Plaintiff’s reaction to that conduct was used as the basis for decisions affecting

the compensation, terms, conditions, or privileges of her employment. Among other things, as a

result of Plaintiff’s complaints of patrons making sexual advances, facilitated by FINKELSTEIN

MEMORIAL LIBRARY, and EAST RAMAPO CENTRAL SCHOOL DISTRICT have,

Defendants obstructed Plaintiff’s ability to work in an environment free of harassment.

       156.     In addition, Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST

RAMAPO CENTRAL SCHOOL DISTRICT have knew of the aforesaid patron’s’ conduct and

accepted it and/or failed to take immediate and appropriate corrective action.

       157.     The sexual harassment altered Plaintiff’s conditions of employment by creating an

abusive working environment for her.

       158.     Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO

CENTRAL SCHOOL DISTRICT’s conduct has been intentional, deliberate, willful, malicious,

reckless, and conducted in callous disregard to Plaintiff’s rights, entitling her to punitive

damages.

       159.     By reason of the continuous nature of Defendant Defendants FINKELSTEIN

MEMORIAL LIBRARY, and EAST RAMAPO CENTRAL SCHOOL DISTRICT’s unlawful

conduct, Plaintiff is entitled to the application of the continuing violation doctrine to the

unlawful acts alleged herein.

       160.     As a result of Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST

RAMAPO CENTRAL SCHOOL DISTRICT’s unlawful conduct, Plaintiff has suffered and will




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continue to suffer harm, including but not limited to lost earnings, lost benefits, lost future

employment opportunities, humiliation, embarrassment, reputational harm, emotional and

physical distress, mental anguish, and other economic damages and non-economic damages.

       161.     Plaintiff is entitled to all legal and equitable remedies available for violations of

Title VII, including back pay, front pay, compensatory damages, punitive damages, and other

appropriate relief. Attorneys’ fees should be awarded under 42 U.S.C. § 2000e-5(k).

                 AS AND FOR AN ELEVENTH CLAIM OF RELIEF
                VIOLATION OF NEW YORK STATE HUMAN RIGHTS LAW,
                 NEW YORK STATE EXECUTIVE LAW 296, ET SEQ.
  (Against Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO
                         CENTRAL SCHOOL DISTRICT)

       162.     Plaintiff re-alleges and incorporates by reference each and every allegation in this

Complaint as though fully set forth herein.

       163.     Plaintiff was a female employee of FINKELSTEIN MEMORIAL LIBRARY,

AND EAST RAMAPO CENTRAL SCHOOL DISTRICT.

       164.     Defendants illegally discriminated against Plaintiff by creating a hostile work

environment for Plaintiff based on her gender. The hostile work environment created by

Defendants was sufficiently pervasive so as to detrimentally alter the terms, conditions and

privileges of Plaintiff’s employment than other employees because of her gender.

       165.     Defendants further discriminated against Plaintiff based on her gender by

subjecting her to materially different terms and conditions of employment than other employees

because of her gender.

       166.     As a result of Defendants FINKELSTEIN MEMORIAL LIBRARY, AND EAST

RAMAPO CENTRAL SCHOOL DISTRICT’s unlawful conduct, Plaintiff has suffered and will

continue to suffer harm, including but not limited to lost earnings, lost benefits, lost future



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employment opportunities, humiliation, embarrassment, reputational harm, emotional and

physical distress, mental anguish, and other economic damages and non-economic damages.

       167.     Plaintiff is entitled to all remedies available for violations of the New York State

Human Rights Law, including back pay, front pay, compensatory damages, punitive damages,

attorneys’ fees, costs, and other appropriate relief.

                  AS AND FOR A TWELFTH CLAIM OF RELIEF
               VIOLATION OF NEW YORK STATE HUMAN RIGHTS LAW—
            GENDER DISCRIMINATION IN TERMS, CONDITIONS, AND
                                 PRIVILEGES
  (Against Defendants FINKELSTEIN MEMORIAL LIBRARY, and EAST RAMAPO
                         CENTRAL SCHOOL DISTRICT)

       168.     Plaintiff re-alleges and incorporates by reference each and every allegation in this

Complaint as though fully set forth herein

       169.     Plaintiff was a former employee of FINKELSTEIN MEMORIAL LIBRARY,

AND EAST RAMAPO CENTRAL SCHOOL DISTRICT.

       170.     Defendants have subjected Plaintiff to discrimination in the terms, conditions, or

privileges of employment in violation of the New York State Human Rights Law. Defendants have

treated Plaintiff differently from and less preferably than similarly situated male employees.

       171.     Plaintiff’s sex has been a determining factor in Defendants’ subjecting of Plaintiff

to discrimination in the terms, conditions, or privileges of employment.

       172.     By reason of the continuous nature of Defendants’ discriminatory conduct, namely

by failing to hire Plaintiff’s decedent, SANDRA WILSON is entitled to the application of the

continuing violation doctrine to the unlawful acts alleged herein.

       173.     As a result of Defendants’ unlawful conduct, Plaintiff has suffered and will

continue to suffer harm, including but not limited to lost earnings, lost benefits, lost future




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employment opportunities, humiliation, embarrassment, reputational harm, emotional and

physical distress, mental anguish, and other economic damages and non-economic damages.

          174.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to all remedies

available for violations of the New York State Human Rights Law, including back pay, front

pay, compensatory damages, punitive damages, attorneys’ fees, costs, and other appropriate

relief.

          WHEREFORE, plaintiffs respectfully request that this Court grant the following relief:

    a. Declaring that the acts and practices of defendants, complained of herein, to be violations

          of Title VII and NYSHRL;

    b. Declaring that the acts and practices of the individual defendant, complained of herein,

          violate the laws of the State of New York;

    c. Enjoining and permanently restraining these violations of law by the defendants;

    d. Directing defendants to take such affirmative action as is necessary to ensure that the

          effects of these unlawful employment practices are eliminated;

    e. Directing defendants to make plaintiff whole for all earnings and other benefits she

          would have received but for defendants’ unlawful conduct, including but not limited to,

          future wages, other lost and future benefits, and interest thereon;

    f. Directing defendants to pay plaintiff compensatory damages, including damages for her

          mental anguish, denial of life’s pleasures, pain and suffering and humiliation, death,

          liquidated damages, and interest thereon;

    g. Directing Defendants to compensate plaintiff for all monetary, economic, and emotional

          harm suffered by plaintiff;

    h. Awarding plaintiff the costs of this action together with reasonable attorney’s fees;



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   i. Directing Defendants to pay punitive damages and interest thereon; and

   j. Granting such other and further relief as this Court deems necessary and proper.


                                      JURY DEMAND

      Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.

Dated: November 20, 2020
       New York, New York
                                                    Respectfully submitted,


                                                    MARK DAVID SHIRIAN P.C.


                                                    By: _____________________
                                                           Mark D. Shirian, Esq.
                                                    228 East 45th Street, Suite 1700-B
                                                    New York, NY 10017
                                                    Telephone: (212) 931-6530
                                                    Facsimile: (212) 898-0163
                                                    Email: mshirian@shirianpc.com

                                                    Co-Counsel for Plaintiff

                                                    RUBENSTEIN & RYNECKI
                                                    Sanford Rubenstein, Esq.
                                                    16 Court Street
                                                    Brooklyn, NY 11241
                                                    Tel: (718) 522-1020

                                                    Co-Counsel for Plaintiffs




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